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          /Y,N                      UNITED STATES DISTRICT COURT
          ^J                          DISTRICT OF NEW HAMPSHIRE


          United States of America


                 V.                                     Criminal No. 14-cr-074-01-LM

          Joshua Fields-




                                               ORDER



                 At a hearing on November 17, 2016, the court resentenced

          Joshua Fields.         During this hearing, defense counsel and Mr.

          Fields made the court aware that, after his original sentencing,

          the Bureau of Prisons classified Mr. Fields as a sex offender.


          As a result of that classification, Mr. Fields credibly

          described harassment, seclusion, threats, transfers and other

          hardships that the court finds may well impede any efforts at

          his rehabilitation while in prison.

                 Defense counsel argued that the sex offender classification

          is an error and must be corrected.             According to defense

          counsel, the classification was the result of a narrative
          description of a domestic assault conviction contained in Mr.

          Fields's original PSR at paragraph 57 {page 19).                Specifically,

          defense counsel attributed the classification to a specific line

          in that narrative (within the second full paragraph) that
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             described Mr. Fields as having ""groped" the victim's ""left

             breast" during the assault.          The court reviewed the police

             report of that incident and the report does not contain the word

             ""groped."     It is clear from the police report that the assault

             was violent in nature, but the report does not suggest that Mr.

             Fields assaulted the victim for purposes of sexual gratifica

             tion.     Moreover, while Mr. Fields's criminal record is lengthy,

             troubling, and includes domestic assaults, he has no convictions

             for sexual assault or sex-related conduct.


                   The court's paramount concern with respect to Mr. Fields is

             that, while in prison, his chances of rehabilitation (for his

             mental health and drug addiction) are maximized.                Without

             successful rehabilitation, Mr. Fields's release will place

             public safety at risk.         The government offered neither evidence

             nor argument to the contrary and did not object to defemae

             counsel's efforts to correct the PSR and assist in having the

             Bureau of Prisons reclassify Mr. Fields.

                     Accordingly, the court issues the following order as an

             addendum to the judgment and conviction in Mr. Fields's case:

                     A brand new, corrected PSR is being issued as a result
                     of Mr. Fields's resentencing. Upon receipt of that
                     new PSR, the Bureau of Prisons shall destroy any and
                     all copies of Mr. Fields's original PSR within its
                     possession and reclassify Mr. Fields based on the new
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      PSR and without reference to any portion of the
      original PSR.

      SO ORDERED.




                                 Landya              erty
                                 United Stat        istrict Judge

December 1, 2016

cc:   Thomas F. McCue, Esq.
      Seth R. Aframe, Esq.
      John J. Farley, Esq.
